Case 3:25-cv-00637-TWR-AHG   Document 1   Filed 03/17/25    PageID.1              Page 1 of 8




                                                                Mar 17 2025

                                                                 s/ GloriaVocal




                                                           '25CV0637 TWR AHG
Case 3:25-cv-00637-TWR-AHG   Document 1   Filed 03/17/25   PageID.2   Page 2 of 8
Case 3:25-cv-00637-TWR-AHG   Document 1   Filed 03/17/25   PageID.3   Page 3 of 8
Case 3:25-cv-00637-TWR-AHG   Document 1   Filed 03/17/25   PageID.4   Page 4 of 8
Case 3:25-cv-00637-TWR-AHG   Document 1   Filed 03/17/25   PageID.5   Page 5 of 8
Case 3:25-cv-00637-TWR-AHG   Document 1   Filed 03/17/25   PageID.6   Page 6 of 8
Case 3:25-cv-00637-TWR-AHG   Document 1   Filed 03/17/25   PageID.7   Page 7 of 8
Case 3:25-cv-00637-TWR-AHG   Document 1   Filed 03/17/25   PageID.8   Page 8 of 8
